                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                       v.                             )      No. 09-4003-09-CR-C-NKL
                                                      )
ROBERT L. JONES                                       )
                                                      )
                              Defendant.              )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Jones, by consent, appeared before the undersigned on July 7, 2009, pursuant
to Fed. R. Crim. P. 11, Local Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of
guilty to Count 17, 30 and 40 of the superseding indictment filed on April 3, 2009. After
cautioning and examining the defendant, under oath, in accordance with the requirements of
Rule 11, it was determined that the guilty plea was made with full knowledge of the charges and
the consequences of pleading guilty, was voluntary, and that the offenses to which the defendant
has plead guilty are supported by a factual basis for each of the essential elements of the
offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Jones be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its filing will prevent the defendant from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 8th day of July, 2009, at Jefferson City, Missouri.



                                               /s/   William A. Knox
                                               WILLIAM A. KNOX
                                               United States Magistrate Judge




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